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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

                        Before the Honorable Steven C. Yarbrough
                             United States Magistrate Judge

                                      Clerk’s Minutes

             Gray v. Acadia Healthcare Company, Inc. et al, 19cv406 WJ/SCY

                             Tuesday, June 18, 2019, at 9:00 a.m.

PLAINTIFF’S ATTORNEY PRESENT:                      F Michael Hart
                                                   Joshua K Conaway

DEFENDANT’S ATTORNEYS PRESENT:                     Ryan L Clement


TYPE OF PROCEEDING: Telephone Scheduling Conference
                    Total Time – 11 Minutes

COURT’S NOTES/RULINGS:

     F Michael Hart and Joshua K Conaway entered their appearances for the Plaintiff. Ryan
      L Clement entered his appearance for Defendant Acadia Healthcare Company, Inc.
      Defendant Rolling Hills Hospital, LLC did not appear.
     The Court questioned the parties about the pending motions and what discovery is
      appropriate.
     Mr. Clement argued that jurisdictional discovery is not necessary because the facts are
      clear. Mr. Clement indicated that Mr. LeBlanc is handling briefing for Defendant Rolling
      Hills Hospital and likely did not file a motion to stay discovery due to concerns that it
      would be inconsistent with his limited appearance in the case to contest personal
      jurisdiction.
     Mr. Hart indicated he agrees to stay discovery pending ruling on the two pending motions
      due to concerns about waiving his position on a remand to state court by engaging in
      discovery.
     Mr. Clement indicates he agrees to stay discovery pending ruling on the two pending
      motions.
     The Court indicated it would enter an order finding good cause to delay entering a
      scheduling order. Judge Yarbrough will keep an eye on the docket and set up another
      status conference if the case is still viable after Judge Johnson issues a ruling on either
      motion.
     The Court concluded the conference.
